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                        Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF PENNSYLVANIA

_________________________________________
                                                     )
FEDERAL TRADE COMMISSION                             )
                                                     )
Plaintiff                                            )
                                                     )
       v.                                            )       Case No. 2:24-CV-4949
                                                     )
EMPIRE HOLDINGS GROUP LLC,                           )
also d/b/a ECOMMERCE EMPIRE                          )
BUILDERS and STOREFUNNELS.NET,                       )
a limited liability company, and                     )
PETER PRUSINOWSKI Individually and                   )
as an officer of Empire Holdings Group LLC           )
                                                     )
      Defendants                                     )
_________________________________________

                       DECLARATION OF ALI AKBAR GULSHAN

1. I am the Chief Operating Officer for E-Commerce Empire Builders and I have personal
   knowledge as to the facts set forth herein.

2. This declaration provides a detailed overview of the steps that take place once a client joins
   our program. The first action is to schedule an introductory call with one of our team
   members. During this call, we walk the client through the upcoming stages of the process,
   ensuring they understand what to expect and how we will work together moving forward.
   This call is designed to introduce them to the team, explain the workflow, and address any
   initial questions they may have regarding next steps. It is also an opportunity to outline what
   we will need from the client and what they can expect from us. A critical part of this
   conversation involves helping the client select a product niche for their business, which helps
   define the overall direction of the project. This decision is fundamental as it shapes the focus
   of the business moving forward.

3. Helping Clients with Niche Selection: Niche selection is a crucial and deeply personal step
   in how a business owner defines their path toward building an online business with our
   assistance. In all of our client communications and social media content, we emphasize the
   importance of choosing a niche that the business owner is genuinely passionate about—
   something that resonates with their interests and aligns with products they would personally
   use or recommend. We encourage our clients to reflect on their hobbies and personal
   interests, as this not only makes the business journey more enjoyable but also more authentic.
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4. For instance, if a client is passionate about pets and takes pride in grooming their own dog
   regularly, we might suggest a niche like dog grooming. This could include products such as
   grooming kits, brushes, shampoos, or even stylish dog accessories—items that the client
   would naturally feel connected to and could confidently recommend. In cases where clients
   need additional guidance, we actively help by suggesting potential hobbies or niches they
   could explore. Once a client finalizes the direction for their niche, we pass that information
   on to our team, who then begins the in-depth research process and client collaboration to
   identify the best opportunities within that niche.

5. Helping Clients with Domain Selection: The next step involves providing the client with a
   curated list of available domain names based on the niche they selected. Our team conducts a
   thorough research to find suitable domain names that align with the client’s business focus
   and are available for purchase. For example, if the client chose dog grooming as their niche,
   we might suggest domain names like PerfectPawsGrooming.com, StylishPupCare.com, or
   DoggieDeluxeGrooming.com. We typically offer multiple options, allowing the client to
   choose the one they feel best represents their brand. Once the domain is chosen, we guide the
   client through setting up the essential assets needed to run a successful online business. This
   includes step-by-step instructions to the client about purchasing the domain, creating a
   professional business support email account, working with a website builder, and working
   with a platform that enables them to source eCommerce products. Our advice on these initial
   steps helps the client to develop a strong foundation for their business operations.

6. An example of correspondence showing how we help to clients with selecting a domain
   name is below.
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6. All of these assets are procured and owned by our client. The instructions provided detail
   exactly what they need to do. We emphasize to clients that it’s important for them to
   complete this exercise themselves so that they fully understand where these valuable
   assets are stored and how to access them. For clients who are less tech-savvy, we are
   always available to assist through video conference calls, where we can guide them step-
   by-step in setting up these essential assets.

7. Helping Clients with Third Party Tools: After the client selects their niche is selected
   and implements important foundational assets, we move on to the next critical phase.
   This phase focuses on helping the client set up the additional technical assets required to
   build and operate their business. A key component of this is assisting them in creating
   access to online social media advertising through the Meta platform, which enables them
   to advertise on Facebook, Instagram, Messenger, and other Meta-owned properties.
   Specifically, we guide them in setting up essential tools such as a Meta Business
   Manager, Meta Business Page, and Meta Ad Account.

8. Helping Clients with Setting Up Payment Processing: Additionally, we help clients set
   up a payment processor, which allows them to accept payments from customers. In most
   cases, this involves creating a Stripe account and a PayPal account. Beyond setup, we
   also provide guidance on how to link these various assets together. For example, we
   instruct them on how to point their domain name to their website, connect their payment
   processors to their website builder, and verify their Meta assets, including the business
   manager, ad account, and business page.

9. Helping Clients with Trademarks and Policies: We also provide advice on how to
   create a business trademark and help clients to establish essential business policies, such
   as a refund policy, terms of service, and privacy policy. After the client has completed the
   setup of these critical assets, with the help of our one-on-one coaching, consulting, and
   video tutorials, they have a follow-up call with one of our team members. During this
   call, we verify that all steps have been properly completed, ensure nothing has been
   overlooked, and assist the client with any troubleshooting if they are stuck at any stage of
   the setup process.

10. Helping Clients with Market Research: While the client is in the process of securing
    the necessary assets, our team simultaneously begins conducting in-depth market
    research and preparing tailored marketing assets based on the client's selected niche.
    Below is a breakdown of how we create and share each component.

11. A dedicated team member is assigned to research products specifically for the client. This
    process involves analyzing various market trends and performance metrics to identify
    top-selling eCommerce products that are both easy to source and likely to generate sales.
    Our research methods include leveraging paid tools such as minea.com and dropship.io,
    which allow us to pinpoint high-performing products by analyzing sales volume, ad
    performance, and other key data points. This ensures our clients are set up with products
    that have the best shot at success in the current market.
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12. Each client is supplied with a curated selection of products, which include a "star"
    product—typically the main focus of the store—as well as upsell and digital products
    designed to act as profit maximizers. For example, in the case of a client who selects the
    pet niche, we might recommend a high-demand product like a dog grooming kit as the
    star product. In addition, we could suggest complementary upsell products such as
    specialized dog shampoos or brushes. Digital products like an eBook on "How to Keep
    Your Pet's Coat Shiny and Healthy" could also be included to further increase profits
    with minimal additional costs.

13. These are examples of the data generated by our research tools:
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14. Helping Clients with Copywriting Research: To effectively sell products online, it’s
    essential to provide clients with compelling product and website descriptions that
    position their offerings in the best light. Our team conducts in-depth research into the
    target customer base, identifying their needs, motivations, and preferences. With this
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   knowledge, we craft persuasive copy that helps our clients resonate with their audience
   and promote their products more effectively.

15. The copy we provide includes:

      Home Page Copy: Engaging content that introduces the client's brand and creates an
       immediate connection with visitors.
      Landing Page Copy: Conversion-focused copy designed to highlight the key
       features and benefits of the client’s star product, encouraging visitors to make a
       purchase.
      Upsell Pages Copy: Strategic text for upsell offers, encouraging customers to add
       complementary products to their orders, increasing the overall order value.
      Email Copy: Follow-up sequences, abandoned cart emails, and promotional emails
       aimed at re-engaging potential customers and driving additional sales.
      Advertising Copy: Compelling social media ad copy optimized for platforms like
       Facebook and Instagram to capture attention and generate interest.

   This is an example of copy researched and prepared for a client:
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16. Helping Clients with Creative Assets: Our dedicated team of designers is responsible
    for creating all the visual and functional assets that complement the copywriting and
    drive the client’s business forward. These creative assets include:

      Website Pages
      Landing Pages
      Upsell Pages
      Emails
      Product Images
      Advertising Images
      Advertising Videos

17. Each of these elements follows a meticulous design and creation process. Our goal is to
    deliver high-quality assets that reflect a premium level of execution, ensuring that our
    clients can attract and engage the high-end customers they aim to serve.

18. Once these creative assets are designed and integrated into the client’s website builder,
    the client is given access to review everything before it goes live. This review phase
    allows the client to collaborate with our team, provide feedback, and make changes to
    fine-tune the look and feel of the assets to match their vision.

19. The process is designed to be collaborative, so clients have the opportunity to discuss the
    design choices, suggest alterations, and ensure that the final product fully aligns with
    their brand's aesthetic and business goals.

20. These are examples of two client’s creative assets:
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21. Client Check-In, Training, and Communication: Throughout the research and creation
    process, we ensure regular communication with our clients by conducting a check-in to
    see if they need assistance with their to-do list and to confirm that everything is
    progressing as planned. During this stage, we emphasize the importance of completing
    the mandatory training necessary to successfully operate an online business. This training
    is provided through our Ecommerce Empire Academy, a comprehensive video library
    that offers step-by-step guidance on how to start, build, and launch an online business.

22. Each client is granted free access to the academy and can progress through the training at
    their own pace. We strongly encourage clients to familiarize themselves with all aspects
    of running an online business through these tutorials, as they cover crucial areas that are
    essential for success. Additionally, we remain available throughout the process to address
    any questions or concerns clients may have, ensuring they feel supported and confident as
    they build their business.




23. Launch Call and Ad Setup: Once the client confirms that they have completed their
    setup tasks, and our team has finalized the marketing research and asset creation, we
    proceed to organize a "Launch Call". This is a crucial step where we assist the client in
    launching their marketing ads to reach prospective buyers.
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24. During this call, our dedicated Media Buying Team works directly with the client,
    typically via screen share, to guide them through the entire ad setup process. This
    includes helping the client define and identify their target market, assisting with
    uploading the ads, and ensuring all the necessary settings are in place for a successful
    campaign. The ads are then launched online, positioning the client’s products to reach
    their ideal audience effectively.

25. This hands-on approach ensures that clients are well-supported during the most critical
    phase of their business launch—advertising to potential customers.




26. Post-Launch Consulting and Ongoing Support: Once the launch call is complete, our
    consulting services enter into full swing. All of our consulting is conducted via a
    platform called Basecamp, which allows clients to live chat with our entire team,
    providing seamless access to answers and support for any questions they may have. This
    live chat feature includes SMS and text options, making communication both flexible and
    convenient.

27. Additionally, we host three weekly group calls where clients can connect directly with
    our consultants. These sessions are designed to be interactive and informative. Our
    consultants typically kick off these calls by discussing new and noteworthy trends in the
    world of eCommerce and online business. Following this, we open the floor to a Q&A
    session, where clients are encouraged to ask any questions related to their business.

28. Clients can also share their screens to give our consultants a real-time view of their
    business data and performance metrics. Our consultants then provide live feedback and
    actionable insights, helping clients understand how to drive improvement and growth in
    their specific businesses.

29. One of the key benefits of these group calls is the opportunity for clients to learn from
    one another’s experiences. This collaborative environment fosters peer-to-peer learning,
    allowing clients to exchange ideas and strategies that have worked for others in the same
    space.
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30. Once a client receives their first order, our team collectively celebrates this momentous
    milestone, recognizing it as a significant achievement in the journey of building their
    business. The first sale is a pivotal moment and represents a major accomplishment for
    the business owner.
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31. Following this milestone, we guide clients through the next crucial steps: order
    management and fulfillment. We provide detailed information about the relevant
    suppliers, along with step-by-step training on how to process and ship products
    efficiently. Additionally, we offer guidance on managing customer inquiries in their
    support inbox, ensuring clients are equipped to handle communication with their buyers
    professionally and effectively.

32. Once the ads are live and orders start coming in, the landscape of the client’s business
    becomes very dynamic. This is where our consultants play a key role in supporting
    clients with their daily questions and challenges. Each client is assigned a dedicated
    account executive who manages all communication and ensures the client’s needs are
    met. Clients are encouraged to maintain open communication with their account
    executive, who is available via live chat and for one-on-one Zoom sessions from 9 AM
    to 5 PM Eastern Standard Time.

33. These account executives work closely with clients, providing personalized consulting on
    the day-to-day operations of their business. Their role is to help clients optimize their
    revenue, guide them through any necessary adjustments, and offer insights to keep the
    business on a path of growth and success.
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34. A core aspect of the Empire Builder promise is our commitment to supporting clients,
    particularly if the first launch does not go as planned. Although the products we select are
    backed by solid research, the success of an online business can often depend on external
    factors, such as how social media platforms handle advertisements. These platforms
    dictate which ads are shown to prospects and how effectively they reach the desired
    audience, often based on the advertiser’s budget.

35. If our clients encounter challenges due to these dynamics, we promptly move their
    business into the optimization stage. During this phase, we work closely with the client,
    carefully reviewing data to identify changes that can improve performance and increase
    revenue. We focus on refining various elements to stabilize sales and profits, including
    providing updated products, adjusting the landing page, enhancing advertising copy,
    and creating new advertising creatives. Our goal is to ensure the client gets the best
    possible results even after encountering initial hurdles.




36. Throughout the process, clients have the flexibility to choose any team they prefer to
    work with. We have routinely collaborated with clients' chosen media buyers, marketing
    managers, and eCommerce experts, onboarding them onto our Basecamp platform and
    providing our consulting services to ensure they can fully benefit from our expertise.
    Alternatively, clients also have the option to hire our in-house team for extended services
    such as paid media marketing, email marketing, social media marketing, influencer
    marketing, and other tailored services that align with their business needs.
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37. In conclusion, our program is centered around providing continuous, expert
    consulting and strategic guidance to ensure the successful launch and growth of our
    clients online business. From the very beginning, we work closely with our clients,
    guiding them through niche selection, securing key assets, and developing comprehensive
    marketing strategies. However, the real value of our program lies in the ongoing
    consulting we offer post-launch, where we help clients navigate the complexities of
    digital marketing, product optimization, and revenue growth. Our consulting services are
    tailored to address each client’s unique needs, providing personalized insights, one-on-
    one support, and a collaborative approach to problem-solving. Whether clients choose to
    work directly with our team or bring in their own experts, we ensure they have the
    knowledge, tools, and strategies to succeed in the dynamic landscape of eCommerce.
    Ultimately, our goal is not just to launch businesses, but to empower clients with the
    strategic consulting needed to build sustainable and profitable enterprises.

38. Understanding Dropshipping, More Than Just Fulfillment: Dropshipping is a
    fulfillment method that allows businesses to sell products without holding inventory.
    When a customer places an order, the retailer purchases the product from a third-party
    supplier, who then ships it directly to the customer. While this method offers advantages
    like reduced overhead and ease of scaling, it’s important to understand that dropshipping
    is just one part of a larger eCommerce strategy.

39. The real key to success in dropshipping lies not in simply fulfilling orders, but in
    effectively marketing products, targeting the right audience, and selling at a low cost per
    sale (CPS). By minimizing advertising and customer acquisition costs, retailers can
    ensure they generate strong profit margins. The ability to choose reliable suppliers who
    can quickly and efficiently ship products to customers is critical to maintaining a smooth
    operation and building a long-term, profitable business.

40. Our Own eCommerce Dropshipping Business, Practicing What We Preach: Our in-
    house dropshipping business serves as an experimental platform, enabling us to test new
    and innovative ideas in the ever-evolving world of eCommerce. From creative marketing
    approaches to optimizing supplier relationships and testing various fulfillment models,
    we stay on the cutting edge of dropshipping practices.

41. This experimentation allows us to identify key strategies that are proven to work in
    today’s market. Every concept we test is implemented with precision, and the results are
    carefully measured. Once we validate a strategy, we refine it further before sharing it
    with our clients. Whether it’s identifying new high-converting product niches, crafting
    compelling advertising campaigns, or optimizing shipping times, our hands-on
    experience informs every piece of advice we offer.

42. Turning Insights Into Client Success: One of the greatest benefits of running our own
    eCommerce dropshipping business is that we are able to offer our clients insights that are
    grounded in reality, not theory. We understand the daily challenges, from fluctuating ad
    costs to supplier reliability, and we tailor our consulting services to help clients navigate
    these challenges effectively.
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43. By leveraging our own data, we help clients not only avoid common pitfalls but also
    seize opportunities that we know have been successful. This direct feedback loop ensures
    that the advice we give is practical, timely, and based on firsthand experience. Whether
    it’s improving cost per acquisition or enhancing customer retention, our dropshipping
    expertise helps clients build solid, scalable businesses.

44. Proven Strategies, Real Results: Our own dropshipping business serves as a “proving
    ground” where we continually experiment, optimize, and adjust strategies to align with
    current market trends. By doing this, we ensure that our clients are receiving up-to-date,
    effective tactics. We take pride in the fact that the methods we employ for our own store
    are the same strategies that we share to help our clients grow their businesses. Our clients
    benefit from strategies that we’ve honed and perfected, giving them the tools they need to
    build a sustainable, scalable online business. With Empire Builders, the advice we
    provide is based on real results, designed to help clients achieve long-term success.
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       I hereby declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to be the best of my information, knowledge, and belief.




September 19, 2024                           ___________________________
                                             Ali Akbar Gulshan
                                             Chief Operating Officer,
                                             E-Commerce Empire Builder
